                                  Case 22-12491       Doc 87    Filed 09/12/22    Page 1 of 3
Entered: September 12th, 2022
Signed: September 12th, 2022

SO ORDERED




                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF MARYLAND


             In re:                                *
                                                   *
             LOGOS INCORPORATED,                   * Case No. 22-12491
                                                   *
                   Debtor.                         *
                                                   *
                                                   *
             *****************************************************************************

                                  STIPULATION AND CONSENT ORDER ENLARGING
                                    TIME TO OBJECT TO DEBTOR’S CHAPTER 11,
                                      SUBCHAPTER V PLAN OF LIQUIDATION
                                             1
                      Logos Incorporated         (the “Debtor”), Sandy Spring Bank (“SSB”), Hill Management

         Services, Inc. (“Hill”), and Lawrence A. Katz, Subchapter V Trustee (the “Trustee”), by their

         respective undersigned counsel, hereby stipulate to the following facts and order:

                      1.        On August 8, 2022, the Debtor filed the Debtor’s Chapter 11, Subchapter V Plan

         of Liquidation [Dkt. 79] (the “Plan”).

                      2.        Subsequent developments have occurred that may affect the terms of the Plan.




         1
          Note the instant bankruptcy case was erroneously filed under the name “LOGOS INCORPORATED” while the
         correct legal name of the Debtor is “LOGOS, INC.”
                  Case 22-12491        Doc 87     Filed 09/12/22       Page 2 of 3




       3.      Such developments include, without limitation, the cancellation of the scheduled

auction of substantially all of the Debtor’s assets.

       4.      As a result, the Debtor has agreed to enlarge the time period for SSB, Hill, and the

Trustee to object to the Plan from August 29, 2022 to September 12, 2022.

       5.      The parties respectfully submit that good cause exists to enlarge the time to object

to the Plan as aforesaid.

       NOW, THEREFORE, based on the foregoing stipulations, good cause having been

shown, it is ORDERED that the deadline for Sandy Spring Bank, Hill Management Services, Inc.,

and the Subchapter V Trustee to oppose or otherwise respond to the Plan is hereby ENLARGED

to September 12, 2022.


 CONSENTED TO:

 /s/ Robert B. Scarlett                                /s/ Lawrence A. Katz
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 Attorney for Debtor                                   Subchapter V Trustee

 /s/ Joshua D. Bradley                                 /s/ Harris Eisenstein
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 Attorney for Sandy Spring Bank                        Attorney for Hill Management Services, Inc.




                                                   2
                       Case 22-12491   Doc 87     Filed 09/12/22     Page 3 of 3



                                CERTIFICATION OF CONSENT

         I certify that the terms of the copy of the proposed stipulation and consent order submitted
to the Court are identical to those set forth in the original, and that the signatures represented by
the /s/ ____ on this copy reference the signatures of the consenting parties on the original.


                                                      /s/ Joshua D. Bradley
                                                      Joshua D. Bradley

cc:

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                                        END OF ORDER

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